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           '~.
                                                                                                                                 ~                                                                                                                                                     ~.



                                                                                                                   WeWComparisonto ATSDR and '~D                                                                                                                                                       i
41) O'Brien, louie


42) Osteen; NaNen
                                  382 .


                                  391
                                                    8/25/00


                                                    10112/00
                                                                   no


                                                                   no
                                                                               no


                                                                                no
                                                                                         no


                                                                                          no
                                                                                                    po


                                                                                                    no
                                                                                                                    JEl
                                                                                                                    KR .

                                                                                                                    JEL"
                                                                                                                                 2 .
                                                                                                                                 3

                                                                                                                                 2
                                                                                                                                                  8l2Sl00  no no
                                                                                                                                                  8I2SIOO. no. no

                                                                                                                                                  10l121OO'       rio· yes yes yes
                                                                                                                                                                                  no
                                                                                                                                                                                  no
                                                                                                                                                                                            no
                                                                                                                                                                                            lICl
                                                                                                                                                                                                        . Black.


                                                                                                                                                                                                           Black
                                                                                                                                                                                                                             10


                                                                                                                                                                                                                             15
                                                                                                                                                                                                                                                8125/00


                                                                                                                                                                                                                                                10112100
                                                                                                                                                                                                                                                                 no     yes yes yes


                                                                                                                                                                                                                                                                 yes yes no          yes
                                                                                                                                                                                                                                                                                                       t
                                                          ..                                                        71           3·               10112/00        yes yes yes yes
                                                                                                    ,
43) Owen Segura, Unda.            392               li/12104       no           no        no.: no                   JEl          5                817/00          no . yes yes yes                         Whitehouse 21                         5122/01         no     yes no       yes
                                                                                             . .                    KR           6                817/00          no no no no                                                             . .                                               .
                                                                                                                    JEP          7                817/00          no yes yes Ye!l

44) Price, Paul                   4058130/05                       no yes yes no                                     VH .        30               11              no     yes yes rna                       \I\ftlilehouse    16                 . 113101         no . yes yes yes
                                                                            .1:
 45) Schauss, Guenther             442               1113/04       no no no::I1O                                     JEl          3               9/1/00.         no yes. yes yes                          Black              15                 9/1100          yes ~ yes no


 46) Schnackenberg, .Steven        445'              8/'0/00           no           no     no
                                                                                                    .
                                                                                                        no
                                                                                                                     KR

                                                                                                                     JEl
                                                                                                                                  4

                                                                                                                                 .2           ,
                                                                                                                                                  9/1100

                                                                                                                                                   8/27#00
                                                                                                                                                                  no n9 no no

                                                                                                                                                                  110    1)0          no        no
                                                                                                                                                                                                     .     Black              9                 . 1119100        no        yes no    yes
                                                                                                                     KR           3                BlZTIOO        no no               no        no ..
                                                                                                                     JEP          4                BIZT/oo·        no    no           no        no

 47) Shea, Lois                    455               9/8IOei           no           yes no . yes                     ~El          2               . 9/8/00         no yes yes yes                           Black             15 .                918100         no        yes yes yes
                                                                                                                         KR      .a                 918100         no . yes yes yes.

  46) Stickney, Robert              468               7/21/0lJ         no           no        no         no              JEl          2            7/21/00' no yes yes yes                                  Black'            17                  7/21/00         no       yes noyes
                                                                                                                         KR           3.           7/21/00  no yes yes yes

  49) Swenson, Gary                 498               3128/02           no          no         no        no         . JEL             7             7110/00        no        yes yes yes                    ·Whitehouse           3 .             4127/00         yes yes no          yes

  50) Taylor-Regjovich, Shirley     502               1.0/13104         no           no        no' nO                    Jet          4             7116/00         no       no        no· no                Black                26               7/16100        yes no        no    no
                                                                                                                         KR           5             7"6100          no       no        no no
                                                                                                                   . .                                                                 "


  51) Vinson, Kay                    526               8/1"/00             no        no'       no            no          JEl··         2            8116100 .       no       yes yes yes                    . B.lack              16               8116/00       . no       yes yes yes
                                                                                                                         KR            3            81.16/00        na. no             no no
                                                                                                        .,               JEP           4            Bl16/00 .       no           no    no. no
                                                                                                        :!

 . 52) Young, Angela                 564              .812100.             no        no            no         no         JEt:          2.            Bl2JOO    no                no        no      no       . WhitehoUSE!          32'              116/03 . .        no    yes no     no
                                                                                                                         KR       . 3                  BI2IOO' no                no        no      110·


   53) Fanner Arthur                    567            no dale                 no    no            no· no                 JEl·            2            1013/(jO        no no no. no                           Black                9                1013100           yes yes no       yes
              ,                                                                               ..                          KR              3            10/3/00         no ~es yes yes'

                                              022      7/20100                 no        no        no         no          11              3            8129101  no yes yes yes : IWhitehouse                                       13               914101            no     yes yes yes
   54) Halsey, Hazel                                                                                     ..               11              4            8129101. no yes. yes yes

                                                                       .                             .                    VH               20          71               no        no       no        flO      ~                    33                8f?AJ5           y~ yes no        yes
    55) Halsey. Ronald                        044       6/1.7/97               no        no        no. no                                                                    .
                                                                                                                                                                                          ,...                 Whiteho              211              8/12100           yes yes no          no
                      058 10/6/04 no no no: no . JEL                                                                                       13.         8112/00. no                yes yes ..es                              use
    56) Thomson, RW o b e r t ·                                                                                                                                                                                                                                                                 71
                                                                                                                                                                                                                                                                                                  '24/2007

                                                                                                                                                            .,


                                                                   "       .
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          :~                                                                                       \~,                                                                              .~
                                                                    j'


                                                                                                                                                                                                !'
                                                                               WeBl Comparlsoil to ATSDR and CARD
                                                                                   KR .     14     8112100   no no no, no
                                                               '.                  JEP      15     8112100   no yes yes yes
                                                                    . .
57) Smith. Opal         074          10/9/03     no . yeS yes rio . JEL        '
                                                                                            35 .   9/7/00    no. yes yes y~             'M1i!e~        'Sf   9/7/00    no yes no yes
                                                                                   KR       36     9moo      no    yes yes yeS
                                                                     ,                                             "



58) Paul, Claude         097         81151ll2.   no no no rio                        JEL     2     7/24/00   yes· no . no . iIlO.       Black          '5    7/24/00   . yes 'no no no
                                                                                   . KR      3:    7/24/00   no· no l,\O no
                                                                                     JEP    .4.    7/24100   no yes Yes Yes
                                                         .
59) Smith, Donald        101          1019/03     no   yes yes no                   JEL      23    . 9moo    no        yes yes yes      Whi,tehouse    35    9/7/00     yes yes yes no
                                                                                    KR       24      9moo    1)0       Yes yes yell'.           "

                    KEY : IF - any Interstitial fibrosis?
                          Pl- any pleural disease?
                          PQ - any pleural plaqUes?
                           PL TH - anY Dleural thickening? .




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                 }                                                                                          SOURCE EMISSIONS
                                                                                                             ~e.sults,of       Surveys • 1975'
                                                                                                             High'                                        .~
                                                                                                                                                                                          ,Averase .
          Mi"hf'    Dr; II' in 9 &. BlastIng ..
                    Or; I Is'                                                                               "1 L.97                                             1.5                          '5. 84
                   loaQing Haul Units
                  .Shovel.s                                                                                  .1.14                                             0.57                          0,76'
                   Loaders '.                                                                                                                                                                0,48 (i sar. ' .
                 . Haul I rig - Rcicis Use
                   Haul' Units                                                                               4.56                                             0.35                           1.47
                      Dump                                                                                                                                                                  ·0.S7 (1   sali
                     , Dump. Oozing (Dozer)                                                                  5.. 13                                          0.9                           . 1·19'
                       Tr.ans fer Pol nt                                                                     5.13                                            0.57                            1.91
                      Dump; n9 '
                      Screeni'ng.
                       , Con .... ~y tng
                    .... Was't~'Hopper ' & Remova J                                                                                 .   '      ,




                     conveyr~g to                      0.5;5B.                                                                                           '0.57
                 Stacking
           : .'~ecra irni ng
              Convey'"; to' I 000 T BI n "
           , F,; I'J j ng
              Emptying
  ' \ " ". ,.;;:;C.;;;.o.rw~'!_y_l_n",:"Q:-::t..::;o-:.;,W_e.:.t..:H~i;.,:I~I_-
                          .                                                  __A~"~F..:.l,.;;:;o;:;.p~rs·     20.52'
,
    :fJ High: Prob. Screens
~         .         Scr!~niMg'
        ....-      Ext ra,ctor
                   Dr.yer "
                    Feeding
                    Dls'charg!
                  ·,.Hlt Traffic·· 'People
                   Clean up Water ·Sys.tem
                   Sld'Pp I"gSys'te.m .-,                                                                                                   .-. ._ ":;.. _":: 0:.-.'.- .
                  :Coriveyor' .
               'Conc. '8; ns
              'Sk;"p Car Loa.ding                                                                     J. 71                                           0.9                                  1.. 39 .
            .. Skip' Trave J
               LO\\'! r Ore Bins                                                                                      .. ~..
           , ·Ski pOump
                ..Discharging
                 H~~I     Road. Traffic
                 Cone. Trucks                                                                                                                                                             0.57 (1 san

                 Screen PI ant                      A II Floors                                    3.99                                        . 0.57                                     1•. 66
                 Dumping
                 Co'nvey ing .
                 Screening
                Haul ing to Storage
                     Haul Truck                                                                                                                    0·.23                                  1.24
                Open Bios .

    ,,.
    I
                Loading HOPP·ers.
                Tunnel & Conveying
                Car loading
                                                                                              23.94                                                2.   2_.1IIlI--_-_J     EXHIBit·
                                                                                                                                                                                          2.25
                BAg House Discharging
                115 Dump I n9               .
                Haul ing to Bag Plant
                                 Case 01-01139-AMC                                    Doc 22766-47                                     Filed 08/13/09            Page 4 of 5


                                                                                                                            ~urveys        ~
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                . Servi·ct... Areas
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            . carage. .                  .                                                                                                                       ...            1'.73.' .
                 ·Sheet      Me~aJ-Shop .'                                              3.99                                                          . 0.S7
                                                                                                                                                       .0,S7                    1.26..
            '. Mac.h fn.~· Shop.'            ;'                                        2.85
          . 'Wareti~use           .                                                                                                                                            , 0.57 (l s·a
               Re 5.!'" r c/:t .'                                                                                                                                 •    f"



                       Other   off Ioe Areas
                . Ve·h·i c'l eTraff:' .c
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..               .
                Outside Locations
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                MInt Gener~IAr~a                                                         0.9                                                                                    2.0 (,I s'am;
                E. of '.Mlne· ·'.Reftecto:r                                                                                                                                     oJ ~1 ' sami.
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 . " 'NtW :p:inn'e'Y" $' tore                                                                                                                                                   l..S (1 sam:
    . ·St. R~gJ~ a.n·r ce 'Area'                                                                                                                                                1.1' {1 samr
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                                                LIBBY COHORT DEATHS PER SOURCE
                                        .- ._--,". iW"';'''min~' ~ork~r, r\iW- ~- rion-worke~, resldent}--·- ..-:=.:..--''--'-'-'-------
                                                                                                                         . ,
         '-
         .!. .                                                                                                 1
          Report                        Group Studied        End     Mesothelioma        Lung     Asbestosis        Non-malignant resPiratory
                                                             date 16                     Cancer                     disease (NMRDI


                                    ,
                                                                    W       NW      W       NW W         .NW _W                  NW
          Sullivan (2007)5              1672                 2001 15                99            40               111
                                        workers
         Whitehouse (2008)' all 13                           2007           119
          CARD Mortality             all seen at         7/8/07 59          29      3       16    29 7 56 7
         .St'udy10                   CARD 3
         Case (2006)9               al/ 13               2006 19            10
         McDonald (2004) .. 406                          1998 12                    44                             51
                                                                    ,
                            workers
         ATSDR (2002)11             all residents 1998 2 12 1                       21     100 11        1                       162 14
         Whitehouse' Report 100                          1999 1 1                 49              40
         (2000)3            workers
          cDonald o( 1986)         406                   1984 4                   23 8                             21 8
                                   workers·              ?                                                                '.




        Grace report               all workers           1984                     30
        9/17/85 6                                        ?
                                                     .                  .

                UAsbestosis" includes asbestosis and asbestos related pleural disease.
    2
                The CARD Mortality Study includes aI/patients seen at CARD or by Dr. Whitehouse in Spokane; WA, who
                were diagnosed with ARD, and for whom films and charts were available..            . ...
    3.        . Expert Report by Dr. Alan·C. Whitehouse, Exh. 7.
    4·
                Trachea, bronchus or lung cancer, Table 2,
    6
                Table 1, includes "any mention of condition" on death certificate.                  . '             .
    e           Atta~hedto Expert Report by Dr. Alan C. Whitehouse, Exh. 22. The list totals 32; but two are excluded, net. .
                30.                          . .                                                                       .
    7          liic~udes all with asbestos related disease (ARD), as a significant factor in the death, except lung cancer and
               mesothelioma.                               . .                                                        '.
e                See Table.3, ICD160-163.
9                Includes living mesotheliomas.
10
                 Expert Report of Dr. Alan C. Whitehouse, Exh. 7
11
               . This study was .limited to persons resident in Lincoln County, MTat death.
12               Eight more .mesotheliomas were found, but were not included as they were not residents of Lincoln County at
                 death .
13            . AI/ in Libby cohort (defined as. exposed t-o Libby asbestos in Lincoln County, Montana).
14
                 Table 10, "alf non-:malignant respiratory (480-519)," workers and non-workers 162.
)                End date for data in the study.


                                                                                                                               EXHIBIT

                libby Cohort Deaths Per Source/Asbestos                                                                        ~I
